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                                                                     Objection Deadline: October 5, 2022

James I. Stang (admitted pro hac vice)
John W. Lucas
Malhar S. Pagay (admitted pro hac vice)
Gillian N. Brown
PACHULSKI STANG ZIEHL & JONES LLP
780 Third Avenue, 34th Floor
New York, NY 10017-2024
Telephone: 212.561.7700
Fax: 212.561.7777
Emails: jstang@pszjlaw.com
        jlucas@pszjlaw.com
        mpagay@pszjlaw.com
        gbrown@pszjlaw.com

Counsel to the Official Committee of Unsecured Creditors

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

---------------------------------------------------------------X
                                                               :
In re                                                          : Chapter 11
                                                               :
MADISON SQUARE BOYS & GIRLS CLUB,                              : Case No. 22-10910-SHL
INC.,1
                                                               :
                           Debtor.                             :
                                                               :
---------------------------------------------------------------X

                       SECOND MONTHLY FEE STATEMENT OF
                    PACHULSKI STANG ZIEHL & JONES LLP FOR
                  COMPENSATION FOR SERVICES RENDERED AND
                REIMBURSEMENT OF EXPENSES INCURRED AS COUNSEL
              TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
            FOR THE PERIOD FROM AUGUST 1, 2022 THROUGH AUGUST 31, 2022




1
The last four digits of the Debtor’s federal tax identification number are 6792. The Debtor’s mailing address is 250
Bradhurst Avenue, New York, New York 10039.


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Name of Applicant:                                    Pachulski Stang Ziehl & Jones LLP

Authorized to Provide Professional:                   Official Committee of Unsecured Creditors

Services to:                                          Official Committee of Unsecured Creditors

Date of Retention:                                    July 16, 2022

Period for which compensation and                     August 1, 2022 through August 31, 2022
reimbursement is sought:

Monthly Fees Incurred                                 $254,095.50

Fee Reduction                                            ($55,335.50)2

Fees (After Reduction)                                $198,760.00

20% Holdback:                                            $39,830.80

Total Fees Less 20% Holdback:                         $159,008.00

Monthly Expenses Incurred:                                $4,027.47

Total Fees and Expenses Due:                         $163,035.47

This is a    X monthly ____interim ____final                   application



         Pursuant to sections 327, 330, and 331 of chapter 11 of title 11 of the United States Code

(the “Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), Rule 2016-1 of the Local Bankruptcy Rules for the United States

Bankruptcy Court for the Southern District of New York (the “Local Rules”), the Order

Authorizing and Approving the Employment of Pachulski Stang Ziehl & Jones LLP as Counsel to



2
 As disclosed in the Firm’s employment application, the Firm is utilizing rates that are reduced from standard rates
so that attorney time is capped at $900 per hour and paralegal time is capped at $400 per hour. The reduction set
forth in this Fee Statement accounts for the reduction from the following standard rates, as set forth in Exhibit A
hereto: J. Stang ($1,525); I. Nasatir ($1,295); M. Pagay ($1,095); J. Lucas ($1,095); B. Levine ($1,045); G. Brandt
($995); G. Brown ($925); B. Dassa ($495); P. Jeffries ($495); L. Canty ($495); K. LaBrada ($495); and M. Matteo
($460).



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the Official Committee of Unsecured Creditors Effective as of July 16, 2022 [Docket No. 196]

(the “PSZJ Retention Order”), and the Order Establishing Procedures for Monthly Compensation

and Reimbursement of Expenses of Professionals [Docket No. 125] (the “Interim Compensation

Order”),3 Pachulski Stang Ziehl & Jones LLP (“PSZJ”), counsel for the Official Committee of

Unsecured Creditors (the “Committee”), hereby submits this second monthly fee statement (the

“Fee Statement”), seeking compensation for services rendered and reimbursement of expenses

incurred as counsel to the Committee in this chapter 11 case (the “Case”) during the period

August 1, 2022 to August 31, 2022 (the “Fee Period”).

        By this Fee Statement, PSZJ seeks payment in the amount of $163,035.47,

comprised of the following: (i) $159,008.00, which is eighty percent (80%) of the total amount of

fees incurred for actual and necessary services rendered during the Fee Period, and (ii)

reimbursement of $4,027.47, which is one hundred percent (100%) of actual and necessary

expenses that PSZJ incurred in connection with its representation of the Committee during the

Fee Period.

                              Services Rendered and Expenses Incurred

        1.       Attached as Exhibit A is a summary of PSZJ’s professionals by individual,

setting forth the (i) name and title of each individual who provided services in connection with

this chapter 11 case during the Fee Period, (ii) the year of bar admission for each PSZJ attorney,

(iii) current, standard hourly billing rate for each individual at PSZJ working on this chapter 11

case during the Fee Period, (iv) the capped hourly rate for those individuals, and (v) the total

fees that each individual billed to this Case during the Fee Period at the applicable capped billing

rate. The Committee hired PSZJ on the condition that the total fees incurred would be discounted


3
 Capitalized terms used herein but not otherwise defined herein have the meanings ascribed to them in the Interim
Compensation Order.


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to the extent the blended rate of PSZJ attorneys does not exceed $900.00 per hour. As provided

in the PSZJ Retention Order, PSZJ paralegals on this Case do not exceed $400.00 per hour. All

of the PSZJ paralegals who worked on this Case during the Fee Period have standard billing rates

in excess of $400.00 per hour. PSZJ is providing a reduction in fees for the Fee Period in the

amount of $55,335.50.

        2.       Attached as Exhibit B is a summary of the services PSZJ rendered during

the Fee Period and the compensation it seeks, by project category.

        3.       Attached as Exhibit C is a summary of expenses that PSZJ incurred during the

Fee Period and for which it seeks reimbursement.

        4.       Attached as Exhibit D is an itemized time detail of PSZJ professionals during the

Fee Period and summary materials related thereto.

                                 Notice and Objection Procedures

        5.       Notice of this Fee Statement shall be given by hand or overnight delivery, or by

email where available, upon (a) the Debtor, Madison Square Boys and Girls Club, Inc., 250

Bradhurst Avenue, New York, New York 10039 (Attn.: Tim McChristian); (b) Debtor’s

counsel: Paul, Weiss, Rifkind, Wharton & Garrison LLP, 1285 Avenue of the Americas, New

York, New York 10019 (Attn.: Alan W. Kornberg, Andrew M. Parlen, John T. Weber); and (c)

William K. Harrington, United States Trustee for Region 2, U.S. Department of Justice, Office of

the U.S. Trustee, 201 Varick Street, Room 1006, New York, New York 10014 (Attn.: Andrea B.

Schwartz and Tara Tiantian) (together with PSZJ, at the mailing or email addresses set forth on

the caption page of this Fee Statement, the “Notice Parties”).

        6.       Objections to this Fee Statement, if any, must be filed with the Court and served

upon PSZJ and the other Notice Parties (set forth at para. 5, above) so as to be received no later




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than fifteen (15) calendar days after filing of the Fee Statement (the “Objection Deadline”),

setting forth the nature of the objection and the amount of fees or expenses at issue (an

“Objection”).

        7.       If no Objections to this Fee Statement are filed and served as set forth above, the

Debtor shall promptly pay eighty percent (80%) of the fees and one hundred percent (100%) of

the expenses set forth in this Fee Statement.

        8.       If an Objection to this Fee Statement is received on or before the Objection

Deadline, the Debtor shall withhold payment of that portion of this Fee Statement to which the

objection is directed and promptly pay the remainder of the fees and disbursements in the

percentages set forth above. See Docket No. 125. To the extent such an Objection is not resolved

between PSZJ and the party filing the Objection, the Objection shall be preserved and scheduled

for consideration at the next interim fee application hearing to be heard by the Court.



 Dated: September 20, 2022                PACHULSKI STANG ZIEHL & JONES LLP

                                           /s/ Gillian N. Brown
                                           James I. Stang (admitted pro hac vice)
                                           John W. Lucas
                                           Malhar S. Pagay (admitted pro hac vice)
                                           Gillian N. Brown
                                           780 Third Avenue, 34th Floor
                                           New York, NY 10017-2024
                                           Telephone: 212.561.7700
                                           Fax: 212.561.7777
                                           Emails: jstang@pszjlaw.com
                                                    jlucas@pszjlaw.com
                                                    mpagay@pszjlaw.com
                                                    gbrown@pszjlaw.com

                                           Counsel to the Official Committee of Unsecured
                                           Creditors




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                                    EXHIBIT A

                            Compensation by Professional
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                       SUMMARY OF COMPENSATION BY PROFESSIONAL
                         FOR SERVICES RENDERED FOR THE PERIOD
                              AUGUST 1, 2022- AUGUST 31, 2022


Name of Professional         Title     Year        Standard   Capped         Total      Total Compensation at
   Partners and                       Admitted      Hourly    Hourly         Billed        Capped Rate ($)
     Counsel                                        Rate ($) Rate in this    Hours
                                                              Case ($)
James I. Stang            Partner        1980      1,525.00    900.00         16.40                  14,760.00
Iain A. W. Nasatir        Partner        1990      1,295.00    900.00         49.50                  44,550.00
Malhar S. Pagay           Partner        1997      1,095.00    900.00         73.30                  65,970.00
John W. Lucas             Partner        2005      1,095.00    900.00         39.90                  35,910.00
Gina F. Brandt            Counsel        1976        995.00    900.00          1.20                   1,080.00
Beth E. Levine            Counsel        1993      1,045.00    900.00          1.80                   1,620.00
Gillian N. Brown          Counsel        1999        925.00    900.00         27.50                  24,750.00
                                                                             209.60                 188,640.00
Total Partners and Counsel:



  Name of Paralegals and             Standard Hourly       Capped Hourly        Total Billed Hours        Total
  Other Non-Legal Staff               Billing Rate ($)     Rate in this                               Compensation
                                                           Case ($)                                    at Capped
                                                                                                        Rate ($)
Patricia J. Jeffries                      495.00                400.00                  6.60             2,640.00
Beth D. Dassa                             495.00                400.00                   0.20               80.00
Kerri L. LaBrada                          495.00                400.00                  17.10            6,840.00
La Asia S. Canty                          495.00                400.00                   1.20              480.00
Michael A. Matteo                         460.00                400.00                   0.20               80.00
Total Paralegals and Other Non-Legal Staff:                                           25.30             10,120.00



ALL PROFESSIONALS                DISCOUNTED/CAPPED            TOTAL BILLED                  TOTAL
                                 BLENDED RATE                    HOURS                  COMPENSATION ($)
                                 ($)

Partners and Counsel                                                209.60                      188,640.00
Paralegals/Non-Legal Staff                                           25.30                       10,120.00
Total Hours and Fees Incurred                                       234.90                      198,760.00
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                                   EXHIBIT B

                            Compensation by Task Code
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                  AGGREGATE TIME SUMMARY BY TASK CODE
                FOR THE PERIOD AUGUST 1, 2022- AUGUST 31, 2022



 Task                         Project Category
                                                             Total Hours      Total Fees
 Code
   AA   Asset Analysis and Recovery                                   0.40             $610.00
   BL   Bankruptcy Litigation                                       149.70         $158,346.50
   CA   Case Administration                                           6.90           $4,779.50
   CO   Claims Admin/Objections                                      11.70          $12,811.50
   FN   Financing                                                     0.40             $490.00
   GC   General Creditors’ Committee                                 29.10          $34,564.50
   MC   Meeting of Creditors                                          9.80          $12,709.00
   ME   Mediation                                                    16.80          $20,179.00
   RP   Retention of Professionals                                    6.60           $5,884.00
  RPO   Retention of Professionals/Others                             3.20           $3,264.00
   SL   Stay Litigation                                               0.30             $457.50

        TOTAL                                                       234.90    $254,095.50, less
                                                                             discount, for total
                                                                                 of $198,760.00
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                                        EXHIBIT C

                                     Expense Summary




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                  AGGREGATE ITEMIZED EXPENSES FOR THE PERIOD
                            AUGUST 1, 2022- AUGUST 31, 2022


                 Expenses Category                                         Total
                                                                           Expenses
    Federal Express                                                          $1,828.10
    Filing Fee                                                                $200.00
    Fax Transmittal                                                            $35.00
    Lexis/Nexis Legal Research                                                $138.97
    Outside Services                                                          $500.00
    Postage                                                                   $211.00
    Reproduction Expense                                                      $503.30
    Reproduction/Scan Copy                                                    $175.10
    Transcript                                                                 $436.00
    TOTAL                                                                    $4,027.47
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                                      EXHIBIT D

                         Itemized Time Detail for the Fee Period
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                                 Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                    August 31, 2022
GNB                                                                 Invoice 130861
                                                                    Client   54162
                                                                    Matter   00004
                                                                             GNB

RE: Committee Representaton

_______________________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 08/31/2022
               FEES                                                 $254,095.50
               EXPENSES                                               $4,027.47
               LESS COURTESY DISCOUNT                                $55,335.50
               TOTAL CURRENT CHARGES                                $202,787.47

               BALANCE FORWARD                                      $128,211.19
               TOTAL BALANCE DUE
                                                                    $330,998.66
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  Summary of Services by Professional
  ID        Name                               Title                Rate          Hours               Amount

 BDD        Dassa, Beth D.                     Paralegal           495.00          0.20               $99.00

 BEL        Levine, Beth E.                    Counsel            1045.00          1.80             $1,881.00

 GFB        Brandt, Gina F.                    Counsel             995.00          1.20             $1,194.00

 GNB        Brown, Gillian N.                  Counsel             925.00         27.50            $25,437.50

 IAWN       Nasatir, Iain A. W.                Partner            1295.00         49.50            $64,102.50

 JIS        Stang, James I.                    Partner            1525.00         16.40            $25,010.00

 JWL        Lucas, John W.                     Partner            1095.00         39.90            $43,690.50

 KLL        LaBrada, Kerri L.                  Paralegal           495.00         17.10             $8,464.50

 LSC        Canty, La Asia S.                  Paralegal           495.00          1.20              $594.00

 MAM        Matteo, Mike A.                    Paralegal           460.00          0.20               $92.00

 MSP        Pagay, Malhar S.                   Partner            1095.00         73.30            $80,263.50

 PJJ        Jeffries, Patricia J.              Paralegal           495.00          6.60             $3,267.00

                                                                                234.90         $254,095.50
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  Summary of Services by Task Code
  Task Code         Description                                               Hours                        Amount

 AA                 Asset Analysis/Recovery[B120]                               0.40                       $610.00

 BL                 Bankruptcy Litigation [L430]                              149.70                 $158,346.50

 CA                 Case Administration [B110]                                  6.90                      $4,779.50

 CO                 Claims Admin/Objections[B310]                              11.70                     $12,811.50

 FN                 Financing [B230]                                            0.40                       $490.00

 GC                 General Creditors Comm. [B150]                             29.10                     $34,564.50

 MC                 Meeting of Creditors [B150]                                 9.80                     $12,709.00

 ME                 Mediation                                                  16.80                     $20,179.00

 RP                 Retention of Prof. [B160]                                   6.60                      $5,884.00

 RPO                Ret. of Prof./Other                                         3.20                      $3,264.00

 SL                 Stay Litigation [B140]                                      0.30                       $457.50

                                                                              234.90                 $254,095.50
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  Summary of Expenses
  Description                                                                                Amount
Federal Express [E108]                                                                    $1,828.10
Filing Fee [E112]                                                                          $200.00
Fax Transmittal [E104]                                                                      $35.00
Lexis/Nexis- Legal Research [E                                                             $138.97
Outside Services                                                                           $500.00
Postage [E108]                                                                             $211.00
Reproduction Expense [E101]                                                                $503.30
Reproduction/ Scan Copy                                                                    $175.10
Transcript [E116]                                                                          $436.00

                                                                                          $4,027.47
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                                                                                     Hours            Rate      Amount

  Asset Analysis/Recovery[B120]
 08/26/2022   JIS     AA        Call with J. Lucas and Dundon regarding FA tasks.     0.40       1525.00         $610.00

                                                                                       0.40                      $610.00

  Bankruptcy Litigation [L430]
 07/19/2022   IAWN BL           Review Gillian N. Brown emails regarding contacts,    0.80       1295.00        $1,036.00
                                Committee and data room

 08/01/2022   IAWN BL           Review comments on 2004 discovery                     0.30       1295.00         $388.50

 08/01/2022   JIS     BL        Review BGCA Rule 2004 motion.                         0.30       1525.00         $457.50

 08/01/2022   MSP     BL        Work on 2004 examinations issues                      1.40       1095.00        $1,533.00

 08/01/2022   MSP     BL        Email exchange with James I. Stang re: comments       0.10       1095.00         $109.50
                                on 2004 examination motion re: BGCA.

 08/01/2022   PJJ     BL        Conference call with Everlaw and Debtor's counsel     0.50         495.00        $247.50
                                regarding load files (.3); including pre-call with
                                Everlaw (.2)

 08/02/2022   MSP     BL        Work on rule 2004 motion issues and revise BGCA       1.90       1095.00        $2,080.50
                                rule 2004 examination motion per James I. Stang
                                comments (1.8); email exchange with James I.
                                Stang, John W. Lucas and Iain Nasatir re: same
                                (.10).

 08/02/2022   MSP     BL        Email exchange with John W. Lucas re: Insurer rule    0.10       1095.00         $109.50
                                2004 motion.

 08/03/2022   MSP     BL        Email exchange with John W. Lucas re: Rule 2004       0.10       1095.00         $109.50
                                motions.

 08/04/2022   GNB     BL        Research chambers rules and local rules pertaining    0.10         925.00         $92.50
                                to Rule 2004 motions.

 08/04/2022   IAWN BL           Review emails from Malhar S. Pagay and John           0.20       1295.00         $259.00
                                Lucas regarding timing of 2004

 08/04/2022   JIS     BL        Review Rule 2004 exams for insurance companies        0.50       1525.00         $762.50
                                and BGCA.

 08/04/2022   MSP     BL        Work on rule 2004 motion issues (2.3); Email          2.80       1095.00        $3,066.00
                                exchange with James I. Stang, John W. Lucas, Iain
                                Nasatir, Beth E. Levine re: same (.20); telephone
                                call with Beth E. Levine re same (.3).

 08/04/2022   BEL     BL        Telephone conference with Malhar S. Pagay             0.30       1045.00         $313.50
                                regarding Rule 2004 motion.
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                                                                                       Hours           Rate      Amount

 08/04/2022   BEL     BL        Review issues regarding 2004 motion.                    0.60      1045.00         $627.00

 08/04/2022   JWL     BL        Outline for state court counsel and committee 2004      0.60      1095.00         $657.00
                                motions, process, and comments to the same.

 08/05/2022   GNB     BL        E-mail PSZJ team regarding Rule 2004 issues             0.20        925.00        $185.00
                                relating to insurance.

 08/05/2022   GNB     BL        Email Patricia J. Jeffries regarding Paul Weiss load    0.10        925.00         $92.50
                                file for document production; Email with Iain A.W.
                                Nasatir regarding insurance documents.

 08/05/2022   IAWN BL           Review Malhar S. Pagay and James I. Stang emails        0.10      1295.00         $129.50
                                regarding 2004 timing

 08/05/2022   IAWN BL           Exchange emails with James I. Stang, Malhar S.          0.20      1295.00         $259.00
                                Pagay, John Lucas regarding insurance possibilities
                                and timing

 08/05/2022   IAWN BL           Exchange emails with Gillian N. Brown regarding         0.10      1295.00         $129.50
                                insurance documents

 08/05/2022   MSP     BL        Telephone calls (2) with Beth E. Levine re: Rule        0.30      1095.00         $328.50
                                2004 motions.

 08/05/2022   MSP     BL        Email John W. Lucas re: 2004 motions, etc.              0.40      1095.00         $438.00

 08/05/2022   MSP     BL        Work on Rule 2004 motions and discovery issues          2.40      1095.00        $2,628.00
                                (2.2); email exchange with Beth E. Levine, John W.
                                Lucas, Iain Nasatir, James I. Stang, et al. re: same
                                (.20).

 08/05/2022   BEL     BL        Correspondence with Chambers regarding                  0.20      1045.00         $209.00
                                scheduling of motion.

 08/05/2022   BEL     BL        Telephone conferences with Malhar S. Pagay              0.20      1045.00         $209.00
                                regarding 2004 motion.

 08/05/2022   BEL     BL        Email with La Asia Canty regarding 2004 motion.         0.20      1045.00         $209.00

 08/05/2022   LSC     BL        Research and correspondence with B. Levine and M.       0.30        495.00        $148.50
                                Pagay re 2004 motion.

 08/06/2022   MSP     BL        Continue work on discovery matters.                     2.20      1095.00        $2,409.00

 08/06/2022   MSP     BL        Work on rule 2004 motion issues and other               2.90      1095.00        $3,175.50
                                discovery matters, including motions to shorten
                                notice.

 08/07/2022   MSP     BL        Attention to discovery matters, including document      2.30      1095.00        $2,518.50
                                requests.

 08/07/2022   MSP     BL        Work on rule 2004 motion issues (2.4); email            2.50      1095.00        $2,737.50
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                                                                                         Hours           Rate      Amount
                                exchange with James I. Stang, et al. re: same (.10).
 08/08/2022   IAWN BL           Review Patricia Jeffries emails regarding service of      0.10      1295.00         $129.50
                                2004

 08/08/2022   JIS     BL        Review Rule 2004 motions.                                 0.20      1525.00         $305.00

 08/08/2022   MSP     BL        Work on rule 2004 motion issues, including                2.80      1095.00        $3,066.00
                                obtaining hearings on shortened notice (2.7); email
                                exchange with John W. Lucas, L. Ebanks, James I.
                                Stang, M. Levi, Patricia Jeffries, Kelly L. LaBrada,
                                et al. re: same (.10).

 08/08/2022   MSP     BL        Telephone calls (2) with John W. Lucas re: Rule           0.20      1095.00         $219.00
                                2004 motions.

 08/08/2022   MSP     BL        Email with James I. Stang re: Rule 2004 motions.          0.10      1095.00         $109.50

 08/08/2022   MSP     BL        Attention to discovery matters (1.9); email exchange      2.00      1095.00        $2,190.00
                                with LaAsia Canty, et al. re: same (.10).

 08/08/2022   PJJ     BL        Review/revise insurance chart.                            2.50        495.00       $1,237.50

 08/09/2022   GNB     BL        Email with John W. Lucas regarding Debtor's               0.10        925.00         $92.50
                                document production; Review emails from PSZJ to
                                Committee regarding variety of issues to be handled.

 08/09/2022   GNB     BL        E-mail Malhar S. Pagay regarding Rule 2004                0.10        925.00         $92.50
                                motions re insurance. E-mail Patricia J. Jeffries
                                regarding same.

 08/09/2022   GNB     BL        Review motion re confidential information.                0.10        925.00         $92.50

 08/09/2022   IAWN BL           Email PSZJ team regarding telephone call with             0.10      1295.00         $129.50
                                debtor regarding insurance

 08/09/2022   IAWN BL           Exchange emails with team regarding state court           0.10      1295.00         $129.50
                                subpoenas

 08/09/2022   IAWN BL           Review Gillian N. Brown, Malhar S. Pagay emails           0.20      1295.00         $259.00
                                regarding timing of 2004

 08/09/2022   MSP     BL        Work on rule 2004 motion issues (4.2); email              4.60      1095.00        $5,037.00
                                exchange with Patricia Jeffries, Iain Nasatir, Gillian
                                N. Brown, John W. Lucas, et al. re: same (.40).

 08/09/2022   MSP     BL        Email John W. Lucas re: Rule 2004 motions.                0.10      1095.00         $109.50

 08/09/2022   MSP     BL        Telephone calls with Patricia Jeffries re: Rule 2004      0.20      1095.00         $219.00
                                motion re: insurers.

 08/09/2022   PJJ     BL        Telephone conference with Malhar S. Pagay (2x)            0.50        495.00        $247.50
                                regarding 2004 motions.
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 08/09/2022   PJJ     BL        Prepare 2004 motions and order shortening time for      2.80        495.00       $1,386.00
                                filing and service.

 08/10/2022   GNB     BL        Email Patricia J. Jeffries regarding new production     0.10        925.00         $92.50
                                of insurance-related documents from Debtor; E-mail
                                Kerri L. LaBrada regarding uploads to Everlaw;
                                E-mail Miriam Levi regarding Kerri L. LaBrada
                                access to Debtor's data site.

 08/10/2022   IAWN BL           Exchange emails with Malhar S. Pagay regarding          0.10      1295.00         $129.50
                                court hearing coverage

 08/10/2022   MSP     BL        Attention to status of pending orders (2.2); email      2.40      1095.00        $2,628.00
                                exchange with Kelly L. LaBrada, LaAsia Canty,
                                Patricia Jeffries, et al. re: same (.20).

 08/10/2022   MSP     BL        Attention to potential hearing dates for Rule 2004      0.40      1095.00         $438.00
                                motions (.3); email exchange with Iain Nasatir, L.
                                Ebanks, et al. re: same (.10).

 08/10/2022   MSP     BL        Email exchange with Committee members and state         0.20      1095.00         $219.00
                                court counsel re: filing of Rule 2004 motions.

 08/10/2022   MSP     BL        Emails with John W. Lucas re: Rule 2004 motions,        0.50      1095.00         $547.50
                                upcoming hearing.

 08/10/2022   PJJ     BL        Process additional productions.                         0.30        495.00        $148.50

 08/10/2022   LSC     BL        Research and correspondence with attorneys              0.50        495.00        $247.50
                                regarding issues with respect to pending motions and
                                submission of proposed orders.

 08/10/2022   KLL     BL        Review datasite sharefiles.                             0.40        495.00        $198.00

 08/11/2022   MSP     BL        Email exchange with Kelly L. LaBrada re:                0.10      1095.00         $109.50
                                submission of outstanding orders.

 08/11/2022   KLL     BL        Email judge's chambers with copy of proposed order      0.40        495.00        $198.00
                                re Motion to Shorten Time on BGCA 2004 Motion.

 08/11/2022   KLL     BL        Email judge's chambers with copy of proposed order      0.10        495.00         $49.50
                                re Motion to Shorten Time on Certain Insurers 2004
                                motion.

 08/12/2022   KLL     BL        Correspond with chambers case manager for hearing       0.20        495.00         $99.00
                                date.

 08/13/2022   IAWN BL           Exchange emails with Malhar S. Pagay re                 0.20      1295.00         $259.00
                                negotiating 2004 compromise with insurers

 08/13/2022   MSP     BL        Email exchange with Iain Nasatir, Gillian N. Brown,     0.70      1095.00         $766.50
                                Kelly L. LaBrada, et al. re: Rule 2004 motions
                                hearings.
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 08/14/2022   GNB     BL        E-mail with Iain A.W. Nasatir and Malhar S. Pagay        0.10        925.00         $92.50
                                regarding strategy for negotiation on
                                insurance-related Rule 2004 motions for document
                                production (Norway time zone).

 08/14/2022   IAWN BL           Revise Malhar S. Pagay email to National                 0.10      1295.00         $129.50

 08/14/2022   IAWN BL           Exchange emails regarding National                       0.10      1295.00         $129.50

 08/14/2022   MSP     BL        Work on meet and confer re: BGCA Rule 2004               2.50      1095.00        $2,737.50
                                motion and draft letter re: same (2.4); email
                                exchange with James I. Stang, John W. Lucas, Iain
                                Nasatir, et al. re: same (.10).

 08/15/2022   GNB     BL        E-mail with Iain A.W. Nasatir and Malhar S. Pagay        0.20        925.00        $185.00
                                regarding insurance document negotiations.

 08/15/2022   IAWN BL           Revise email to insurers regarding 2004 meet and         0.20      1295.00         $259.00
                                confer

 08/15/2022   IAWN BL           Exchange emails with James I. Stang and Malhar S.        0.10      1295.00         $129.50
                                Pagay regarding Global

 08/15/2022   IAWN BL           Exchange emails and telephone calls with Gillian N.      0.30      1295.00         $388.50
                                Brown and Malhar S. Pagay regarding document
                                production to Madison of insurance

 08/15/2022   IAWN BL           Coordinate sending of meet and confer to insurers        2.30      1295.00        $2,978.50

 08/15/2022   MSP     BL        Telephone call with John W. Lucas re: Rule 2004          0.30      1095.00         $328.50
                                motions.

 08/15/2022   MSP     BL        Attention to finalizing, filing and service of Rule      2.50      1095.00        $2,737.50
                                2004 motions (2.3); email exchange with Iain
                                Nasatir, Gillian N. Brown, Patricia Jeffries, LaAsia
                                Canty et al. re: same (.20).

 08/15/2022   MSP     BL        Draft meet and confer letter re: BGCA rule 2004          0.70      1095.00         $766.50
                                motion (.6); email exchange with S. Newman, K.
                                Kansa et al. re: same (.10).

 08/15/2022   MSP     BL        Attention to insurer-related discovery (2.2); email      2.40      1095.00        $2,628.00
                                exchange with Iain Nasatir, M. Levi, Gillian N.
                                Brown, Patricia Jeffries, et al. re: same (.20).

 08/15/2022   MSP     BL        Work on discovery matters (2.6); email exchange          2.70      1095.00        $2,956.50
                                with J. Amala, James I. Stang, et al. re: same (.10).

 08/15/2022   LSC     BL        Correspondence regarding 2004 motions.                   0.20        495.00         $99.00

 08/16/2022   GNB     BL        Email with Malhar S. Pagay regarding Hurwitz             0.10        925.00         $92.50
                                Fine's email concerning document requests directed
                                to BCGA.
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 08/16/2022   IAWN BL           Further coordination of emailing meet and confer          1.50      1295.00        $1,942.50
                                letter to multiple insurers

 08/16/2022   MSP     BL        Work on discovery matters (1.4); email exchange           1.50      1095.00        $1,642.50
                                with M. Williams, James I. Stang, Iain Nasatir, et al.
                                re: same (.10).

 08/16/2022   MSP     BL        Email with John W. Lucas re: Rule 2004 motions,           0.80      1095.00         $876.00
                                other case action items.

 08/17/2022   GNB     BL        Email with Malhar S. Pagay and John W. Lucas              0.10        925.00         $92.50
                                regarding call with Hurwitz Fine on Friday.

 08/17/2022   GNB     BL        Email with PSZJ team regarding insurer in                 0.10        925.00         $92.50
                                liquidation.

 08/17/2022   IAWN BL           Further coordination of letters to insurers               1.50      1295.00        $1,942.50

 08/17/2022   IAWN BL           Exchange emails with team regarding liquidation           0.10      1295.00         $129.50
                                insurer

 08/17/2022   MSP     BL        Work on discovery matters (2.7); email exchange           2.90      1095.00        $3,175.50
                                with M. Williams, James I. Stang, Gillian N. Brown,
                                John W. Lucas, et al. re: same (.20).

 08/17/2022   JWL     BL        Email with state court counsel regarding discovery        0.70      1095.00         $766.50
                                against insurance targets.

 08/18/2022   GNB     BL        E-mail with Kerri L. LaBrada regarding access to          0.10        925.00         $92.50
                                data site for Debtor’s document production from
                                yesterday; E-mail Daniel Finnegan at Teneo and
                                Miriam Levi regarding same.

 08/18/2022   GNB     BL        E-mail with PSZJ team regarding Rule 2004 motion          0.10        925.00         $92.50
                                on Allianz/counsel for Allianz and e-mail from
                                Troutman firm.l regarding same.

 08/18/2022   GNB     BL        E-mail with Janice Washington regarding tracking          0.10        925.00         $92.50
                                document for Rule 2004 motion and meet and confer
                                status.

 08/18/2022   GNB     BL        Email with Iain A.W. Nasatir and Malhar S. Pagay          0.10        925.00         $92.50
                                regarding additionally discovered insurers and Rule
                                2004 motions directed to same.

 08/18/2022   IAWN BL           Arrange to serve Allianz with 2004                        0.10      1295.00         $129.50

 08/18/2022   IAWN BL           Further work on letter to insurers                        1.00      1295.00        $1,295.00

 08/18/2022   IAWN BL           Exchange email with Malhar S. Pagay and Gillian           1.00      1295.00        $1,295.00
                                N. Brown regarding unknown insurers

 08/18/2022   MSP     BL        Work on discovery matters (1.9); email exchange           2.10      1095.00        $2,299.50
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                                                                                       Hours           Rate      Amount
                                with James I. Stang, John W. Lucas, Iain Nasatir,
                                Gillian N. Brown re: same (.20).
 08/18/2022   JWL     BL        Strategy call with J. Amala regarding 2004              2.10      1095.00        $2,299.50
                                insurance targets (1.6); call with J. Freeman
                                regarding insurance discovery (.5).

 08/18/2022   KLL     BL        Review production by Paul Weiss and assist with         1.60        495.00        $792.00
                                issues re same.

 08/19/2022   GNB     BL        E-mail Kerri L. LaBrada regarding access to Paul        0.10        925.00         $92.50
                                Weiss file share; Email with John Hammel Strauss
                                regarding same.

 08/19/2022   GNB     BL        Email with Kerri L. LaBrada regarding production        0.10        925.00         $92.50
                                log.

 08/19/2022   GNB     BL        Prepare for call with Hurwitz Fine regarding Rule       0.20        925.00        $185.00
                                2004 document requests and email Malhar S. Pagay
                                regarding same (.1); Telephone conference with
                                Malhar S. Pagay regarding same (.1).

 08/19/2022   GNB     BL        Zoom meet and confer with Malhar S. Pagay and           0.50        925.00        $462.50
                                Mike Williams of Hurwitz Fine regarding
                                Committee’s Rule 2004 motion directed to BGCA.

 08/19/2022   GNB     BL        Telephone conference with Malhar S. Pagay               0.20        925.00        $185.00
                                following meet and confer with Mike Williams
                                regarding negotiation points.

 08/19/2022   GNB     BL        Edit draft email from Malhar S. Pagay to state court    0.10        925.00         $92.50
                                counsel regarding Rule 2004 motion directed to
                                BGCA.

 08/19/2022   MSP     BL        Telephone call with Gillian N. Brown re:                0.80      1095.00         $876.00
                                preparation for meet and confer with BGCA counsel
                                (.10) re: Rule 2004 motion; Telephone call with M.
                                Williams(.50) and with Gillian N. Brown (.20) re:
                                same.

 08/19/2022   MSP     BL        Draft update to state court counsel re: BGCA            0.80      1095.00         $876.00
                                discovery (.7); email exchange with Gillian N.
                                Brown and state court counsel re: same (.10).

 08/19/2022   MSP     BL        Email with John W. Lucas re: discovery and case         0.30      1095.00         $328.50
                                status.

 08/19/2022   KLL     BL        Correspond with Paul Weiss on document                  0.60        495.00        $297.00
                                production sharefile issues.

 08/22/2022   IAWN BL           Telephone conference with Clyde regarding insurer       0.30      1295.00         $388.50
                                objection
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 08/22/2022   IAWN BL           Exchange emails with Perez regarding Great             0.10      1295.00         $129.50
                                Atlantic

 08/22/2022   IAWN BL           Exchange emails with Plevin regarding email            0.10      1295.00         $129.50
                                objection

 08/22/2022   MSP     BL        Email exchange with John W. Lucas re: meeting of       0.10      1095.00         $109.50
                                creditors testimony.

 08/22/2022   MSP     BL        Email exchange with M. Williams re: initial BGCA       0.10      1095.00         $109.50
                                production.

 08/23/2022   GNB     BL        Email with Iain A.W. Nasatir and Malhar S. Pagay       0.10        925.00         $92.50
                                regarding Rule 2004 motion directed to insurers.

 08/23/2022   GNB     BL        Consider Miriam Levi email regarding Covington         0.10        925.00         $92.50
                                report; Email PSZJ team regarding same.

 08/23/2022   GNB     BL        Email with Kerri L. LaBrada regarding Debtor’s         0.10        925.00         $92.50
                                production to data site.

 08/23/2022   IAWN BL           Telephone conference with Miceli, Drasman and          0.30      1295.00         $388.50
                                Perez regarding Great Atlantic

 08/23/2022   IAWN BL           Telephone conference with James I. Stang regarding     0.10      1295.00         $129.50
                                Great Atlantic

 08/23/2022   IAWN BL           Review Plevin email regarding discovery and            0.80      1295.00        $1,036.00
                                analyze response

 08/23/2022   IAWN BL           Exchange emails with Malhar S. Pagay and Gillian       0.10      1295.00         $129.50
                                N. Brown regarding Plevin email and debtor
                                documents

 08/23/2022   IAWN BL           Email James I. Stang, Gillian N. Brown, Malhar S.      0.10      1295.00         $129.50
                                Pagay and John W. Lucas regarding progress with
                                insurers 2004

 08/23/2022   JIS     BL        Call with I. Nasatir regarding insurance discovery.    0.10      1525.00         $152.50

 08/23/2022   MSP     BL        Email exchange with Iain Nasatir, et al. re:           0.10      1095.00         $109.50
                                insurance documents in data room.

 08/23/2022   KLL     BL        Correspond to/from Paul Weiss on continued issues      0.70        495.00        $346.50
                                of downloads from datasite.

 08/23/2022   KLL     BL        Upload files from datasite.                            0.90        495.00        $445.50

 08/24/2022   GNB     BL        Continued emails with PSZJ team regarding              0.20        925.00        $185.00
                                Covington report.

 08/24/2022   GNB     BL        Email with Mike Williams regarding BGCA                0.20        925.00        $185.00
                                document production (.1); Email with Kerri L.
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                                LaBrada and staff regarding processing of same for
                                upload to Everlaw (.1).
 08/24/2022   GNB     BL        Email with Daniel Finnegan (Teneo), Deborah            0.10        925.00        $92.50
                                Spellen, Miriam M Levi, and John Hammel Strauss
                                regarding document productions from Paul Weiss;
                                Email with Lauren Varga regarding same.

 08/24/2022   IAWN BL           Exchange emails with team regarding Covington          0.20      1295.00        $259.00
                                report

 08/24/2022   IAWN BL           Exhange emails with Perez regarding 2004               0.20      1295.00        $259.00
                                agreement

 08/24/2022   IAWN BL           Exchange emails with Clyde & Co. regarding             0.10      1295.00        $129.50
                                agreement on 2004

 08/24/2022   IAWN BL           Exchange emails with Gillian N. Brown regarding        0.10      1295.00        $129.50
                                new documents from debtors

 08/24/2022   IAWN BL           Exchange emails with counsel for Travelers             0.10      1295.00        $129.50
                                regarding 2004

 08/24/2022   IAWN BL           Exchange emails with PIC regarding 2004 and            0.20      1295.00        $259.00
                                directors and officers policies

 08/24/2022   IAWN BL           Exchange emails with Allianz regarding 2004 and        0.10      1295.00        $129.50
                                service

 08/24/2022   MSP     BL        Email exchange with Gillian N. Brown, et al. re:       0.10      1095.00        $109.50
                                Covington report.

 08/24/2022   BEL     BL        Review local rules and emails with Gillian N. Brown    0.30      1045.00        $313.50
                                regarding local rules and certification of no
                                objection.

 08/24/2022   KLL     BL        Review documents on datasite and correspond            0.70        495.00       $346.50
                                regarding issues to same.

 08/25/2022   GNB     BL        Email with Iain A.W. Nasatir regarding                 0.10        925.00        $92.50
                                insurance-related discovery.

 08/25/2022   GNB     BL        Email with Kerri L. LaBrada, Gini L. Downing, and      0.10        925.00        $92.50
                                Ben Downing regarding project to rename pdfs
                                produced by Debtor for upload to Everlaw; Review
                                Kerri L. LaBrada email to Paul Weiss regarding
                                missing bates numbers on Excels produced by
                                Madison.

 08/25/2022   GNB     BL        Email with IslandDundon team regarding call            0.10        925.00        $92.50
                                tomorrow in advance of Committee call on Monday;
                                Email with Lauren Varga regarding document
                                productions from Debtor.
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 08/25/2022   IAWN BL           Telephone conference with team regarding               0.90      1295.00        $1,165.50
                                committee issues

 08/25/2022   MSP     BL        Telephone call with Gillian N. Brown re: discovery     0.20      1095.00         $219.00
                                tasks.

 08/25/2022   MSP     BL        Work on discovery matters and draft informal           1.50      1095.00        $1,642.50
                                document request (1.4); email exchange with John
                                W. Lucas, et al. re: same (.10).

 08/25/2022   KLL     BL        Telephone call with Paul Weiss regarding issues on     0.50        495.00        $247.50
                                datasite uploads.

 08/25/2022   KLL     BL        Review and upload additional documents produced        1.40        495.00        $693.00
                                to Everlaw.

 08/25/2022   KLL     BL        Review documents produced by BCGA and relate           0.40        495.00        $198.00
                                issues to same for upload to Everlaw.

 08/26/2022   GNB     BL        Telephone conference with James I. Stang (partial      0.90        925.00        $832.50
                                attendance), John W. Lucas, Tabish Rizvi, and
                                Steven Landgraber in preparation for Monday’s
                                Committee meeting and Monday’s IslandDundon
                                meeting with Teneo.

 08/26/2022   GNB     BL        Analyze seven (7) objections to Committee’s Rule       0.10        925.00         $92.50
                                2004 motion for production of documents directed to
                                insurers.

 08/26/2022   GNB     BL        Email with PSZJ and Michelle Cano at Legal Vision      0.20        925.00        $185.00
                                regarding BCGA documents for Everlaw upload
                                (.1); Email Michael Williams regarding bates
                                labeling of his document production on behalf of
                                BCGA (.1).

 08/26/2022   IAWN BL           Review insurer objections                              3.80      1295.00        $4,921.00

 08/26/2022   IAWN BL           Exchange emails with Gillian N. Brown regarding        0.10      1295.00         $129.50
                                service

 08/26/2022   IAWN BL           Review appearances in Madison regarding discovery      0.30      1295.00         $388.50

 08/26/2022   KLL     BL        Pull production by BGCA and correspond with            0.60        495.00        $297.00
                                vendor to update files correctly for uploading to
                                Everlaw.

 08/26/2022   KLL     BL        Upload corrected data file re BGCA to Everlaw.         0.40        495.00        $198.00

 08/26/2022   KLL     BL        Review corrected files re Paul Weiss Excel             0.60        495.00        $297.00
                                spreadsheets and upload same to Everlaw.

 08/27/2022   GNB     BL        Analyze seven (7) objections to Committee’s Rule       3.90        925.00       $3,607.50
                                2004 motion for production of documents and oral
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                                examination directed to insurers (3.7); Email PSZJ
                                team regarding same (.2).
 08/27/2022   GNB     BL        Draft Reply to objections to Rule 2004 motion for        2.90        925.00       $2,682.50
                                production of documents and oral examination
                                directed to certain insurers.

 08/27/2022   IAWN BL           Review Gillian N. Brown summary and provide              3.50      1295.00        $4,532.50
                                outline for reply

 08/28/2022   GNB     BL        Draft Reply to objections to Rule 2004 motion for        1.80        925.00       $1,665.00
                                production of documents and oral examination
                                directed to certain insurers.

 08/28/2022   GNB     BL        Revise and edit Reply to objections to Rule 2004         0.80        925.00        $740.00
                                motion for production of documents and oral
                                examination directed to certain insurers and the
                                declaration of Iain A.W. Nasatir in support thereof.

 08/28/2022   GNB     BL        Email Tabish Rizvi regarding follow up on financial      0.10        925.00         $92.50
                                information discussion on August 26.

 08/28/2022   GNB     BL        Email John Weber and Miriam Levi regarding               0.10        925.00         $92.50
                                document requests relating to annual reports and
                                audits; Email with Malhar S. Pagay regarding same.

 08/28/2022   IAWN BL           Review insurer offers/2004                               0.80      1295.00        $1,036.00

 08/28/2022   IAWN BL           Revise brief and Iain A.W. Nasatir declaration           2.80      1295.00        $3,626.00

 08/28/2022   IAWN BL           Review list of emails addresses for service compiled     0.30      1295.00         $388.50
                                by assistant

 08/28/2022   IAWN BL           Exchange emails with Gillian N. Brown regarding          0.10      1295.00         $129.50
                                list

 08/28/2022   IAWN BL           Review WIP agenda                                        0.10      1295.00         $129.50

 08/28/2022   IAWN BL           Review Gillian N. Brown email to debtor regarding        0.10      1295.00         $129.50
                                financials

 08/28/2022   MSP     BL        Work on discovery matters, including informal            0.50      1095.00         $547.50
                                request to debtors (.4); email exchange with James I.
                                Stang, John W. Lucas, Gillian N. Brown, et al. re:
                                same (.10).

 08/29/2022   GNB     BL        Email with Michael Williams regarding meet and           0.10        925.00         $92.50
                                confer concerning BCGA documents; Email with
                                Gini L. Downing regarding supplemental service list
                                for reply brief today.

 08/29/2022   GNB     BL        Email with state court regarding edits to reply brief    0.10        925.00         $92.50
                                (on Rule 2004 motion directed to certain insurers).
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 08/29/2022   GNB     BL        Email with Kerri LaBrada regarding certificate of no    0.10        925.00         $92.50
                                objection relating to docket no. 111.

 08/29/2022   GNB     BL        Review Miriam Levi draft agenda for August 31           0.10        925.00         $92.50
                                hearing; Email with John W. Lucas and Miriam Levi
                                regarding edit to same.

 08/29/2022   GNB     BL        Revise and finalize reply brief (on Rule 2004 motion    3.40        925.00       $3,145.00
                                directed to certain insurers) along with associated
                                papers.

 08/29/2022   GNB     BL        Review and edit service lists for various filings       0.50        925.00        $462.50
                                today (.4); Telephone conference with Sophia L. Lee
                                regarding service of papers today (.1).

 08/29/2022   GNB     BL        Revise and edit certification of non-objecting          0.70        925.00        $647.50
                                insurers to Rule 2004 motion.

 08/29/2022   GNB     BL        Email with PSZJ team regarding Wednesday hearing        0.10        925.00         $92.50
                                on Rule 2004 motions.

 08/29/2022   GNB     BL        Email with Iain A.W. Nasatir regarding Gregg            0.10        925.00         $92.50
                                Galardi questions relating to Rule 2004 motion to
                                insurers.

 08/29/2022   GNB     BL        Telephone conference and email with Janice              0.10        925.00         $92.50
                                Washington regarding bounce back emails to
                                insurers and insurance counsel.

 08/29/2022   IAWN BL           Telephone conference with Committee regarding           0.50      1295.00         $647.50
                                2004

 08/29/2022   IAWN BL           Review discovery documents for reply and oral           2.00      1295.00        $2,590.00
                                argument

 08/29/2022   IAWN BL           Review Gillian N. Brown draft of reply for 2004         0.20      1295.00         $259.00

 08/29/2022   IAWN BL           Coordinate email discovery offer to all insurers        3.50      1295.00        $4,532.50

 08/29/2022   IAWN BL           Review email file regarding Allianz service             0.10      1295.00         $129.50

 08/29/2022   IAWN BL           Engage in meet and confers with PIC, GA, AS and         1.50      1295.00        $1,942.50
                                other insurers regarding 2004

 08/29/2022   IAWN BL           Exchange emails with Kerri LaBrada and Gillian N.       0.10      1295.00         $129.50
                                Brown regarding filing deadline re repty brief

 08/29/2022   IAWN BL           Exchange emails with Gillian N. Brown regarding         0.10      1295.00         $129.50
                                timing of reply review re Rule 2004

 08/29/2022   IAWN BL           Final edits to brief and declaration re Rule 2004       0.80      1295.00        $1,036.00

 08/29/2022   IAWN BL           Review each set of emails to insurers to confirm        0.70      1295.00         $906.50
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                                                                                        Hours           Rate      Amount
                                correct addressee
 08/29/2022   IAWN BL           Exchange emails with Gillian N. Brown regarding          0.10      1295.00        $129.50
                                hearing binder

 08/29/2022   MSP     BL        Email exchange with John W. Lucas re: case               0.10      1095.00        $109.50
                                litigation status.

 08/29/2022   KLL     BL        Prepare certificate of no objection to 2004 motion.      0.80        495.00       $396.00

 08/30/2022   GNB     BL        Prepare for telephonic meet and confer with Michael      0.50        925.00       $462.50
                                Williams regarding BGCA document production.

 08/30/2022   GNB     BL        Telephonic meet and confer with Michael Williams         0.10        925.00        $92.50
                                regarding BGCA document production.

 08/30/2022   GNB     BL        Email with Michael Williams regarding BGCA               0.10        925.00        $92.50
                                proposed order.

 08/30/2022   GNB     BL        Email and telephone conference with Oliver Carpio        0.30        925.00       $277.50
                                regarding certificates of service for papers filed
                                today (.1); Revise Oliver Carpio’s certificate of
                                service (.1); Instruct Oliver Carpio regarding filing
                                of papers today (.1).

 08/30/2022   GNB     BL        Analyze Gregg Galardi’s response to certification of     0.20        925.00       $185.00
                                no objection to Rule 2004 motion directed to
                                insurers (.1); Email with Iain A.W. Nasatir regarding
                                same (.1).

 08/30/2022   GNB     BL        Telephone conference with James I. Stang regarding       0.10        925.00        $92.50
                                Rule 2004 motion directed to insurers; Review email
                                from Jason Amala regarding same.

 08/30/2022   GNB     BL        Review and respond to Lauren Varga email                 0.10        925.00        $92.50
                                regarding documents from the Debtor, including
                                email with Malhar S. Pagay regarding same.

 08/30/2022   GNB     BL        Prepare Iain A.W. Nasatir by email for tomorrow’s        0.30        925.00       $277.50
                                hearing on Rule 2004 motion directed to insurers.

 08/30/2022   GNB     BL        Email with PSZJ attorneys regarding potential            0.20        925.00       $185.00
                                resolution of Rule 2004 motions.

 08/30/2022   GNB     BL        Email with Miriam Levi regarding amended agenda          0.10        925.00        $92.50
                                for tomorrow’s hearing; Email with Malhar S. Pagay
                                regarding same.

 08/30/2022   GNB     BL        Review Iain A.W. Nasatir email regarding meet and        0.10        925.00        $92.50
                                confer with Gregg Galardi on Rule 2004 motion
                                directed to insurers.

 08/30/2022   IAWN BL           Review voicemail from Plevin regarding meet and          0.10      1295.00        $129.50
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                                                                                      Hours           Rate      Amount
                                confer
 08/30/2022   IAWN BL           Prepare for hearing on Rule 2004 motions               2.50      1295.00        $3,237.50

 08/30/2022   JIS     BL        Call with J. Lucas regarding 8.31 hearing agenda       0.10      1525.00         $152.50
                                (employment and R2004 exams).

 08/30/2022   MSP     BL        Email exchange with Iain Nasatir, et al. re:           0.10      1095.00         $109.50
                                scheduling of hearings re: Rule 2004 motions.

 08/30/2022   MSP     BL        Work on discovery matters (1.0); email exchange        1.10      1095.00        $1,204.50
                                with John W. Lucas, Gillian N. Brown, et al. re:
                                same (.10).

 08/30/2022   JWL     BL        Prepare status summary for chambers regarding          0.50      1095.00         $547.50
                                2004 motions set for hearing on Aug. 31, 2022 (.5);

 08/31/2022   GNB     BL        Email with Iain A.W. Nasatir in preparation for        0.20        925.00        $185.00
                                today’s hearing relating to Rule 2004 motion
                                directed to insurers.

 08/31/2022   GNB     BL        Revise proposed order on Rule 2004 motion directed     0.30        925.00        $277.50
                                to BGCA.

 08/31/2022   GNB     BL        Telephone conference with Iain A.W. Nasatir            0.10        925.00         $92.50
                                regarding today’s hearing on Rule 2004 motion
                                directed to insurers.

 08/31/2022   GNB     BL        Email Iain A.W. Nasatir with regard to revisions to    0.10        925.00         $92.50
                                proposed order on Rule 2004 motion directed to
                                insurers.

 08/31/2022   GNB     BL        Email Michael A. Matteo regarding preparation of       0.10        925.00         $92.50
                                subpoenas directed to BGCA and to insurers.

 08/31/2022   GNB     BL        Review email from Gary Seligman regarding              0.10        925.00         $92.50
                                proposed order on Rule 2004 motion directed to
                                insurers; Review email from John Weber requesting
                                cc on emails regarding proposed orders on Rule
                                2004 motions.

 08/31/2022   IAWN BL           Telephone conferences with Plevin regarding meet       1.00      1295.00        $1,295.00
                                and confer

 08/31/2022   IAWN BL           Telephone conferences with Galardi regarding meet      1.00      1295.00        $1,295.00
                                and confer

 08/31/2022   IAWN BL           Attend hearing on Rule 2004 motions                    1.00      1295.00        $1,295.00

 08/31/2022   IAWN BL           Telephone conference with James I. Stang regarding     0.10      1295.00         $129.50
                                hearing

 08/31/2022   IAWN BL           Exchange email and telephone call with Carlton         0.10      1295.00         $129.50
                                Fields regarding hearing
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 08/31/2022   IAWN BL           Exchange telephone call and email with Miller            0.10      1295.00         $129.50
                                regarding hearing

 08/31/2022   IAWN BL           Telephone call with Gillian N. Brown regarding           0.10      1295.00         $129.50
                                hearing

 08/31/2022   IAWN BL           Exchange emails with Gillian N. Brown regarding          0.10      1295.00         $129.50
                                revising order

 08/31/2022   JIS     BL        Attend hearing regarding Rule 2004 exams and             1.00      1525.00        $1,525.00
                                employment.

 08/31/2022   MAM     BL        Create subpoena tracking chart.                          0.20        460.00         $92.00

 08/31/2022   MSP     BL        Email exchange with Iain Nasatir, Gillian N. Brown,      0.10      1095.00         $109.50
                                et al. re: hearings re: Rule 2004 examinations.

 08/31/2022   MSP     BL        Email exchange with Gillian N. Brown, et al. re:         0.20      1095.00         $219.00
                                resolution of BGCA discovery issues.

 08/31/2022   BDD     BL        Email G. Brown re uploading docs to Everlaw.             0.10        495.00         $49.50

                                                                                       149.70                  $158,346.50

  Case Administration [B110]
 08/01/2022   KLL     CA        Update critical dates memo.                              0.30        495.00        $148.50

 08/02/2022   JIS     CA        Call with UST re case status.                            0.70      1525.00        $1,067.50

 08/02/2022   JWL     CA        Prepare summary of purpose of 341 meeting for            0.60      1095.00         $657.00
                                committee (.6);

 08/03/2022   KLL     CA        Update critical dates memo.                              0.30        495.00        $148.50

 08/05/2022   JWL     CA        Email to committee regarding scope and procedure         0.40      1095.00         $438.00
                                for 341 meeting (.4);

 08/05/2022   KLL     CA        Update critical dates memo.                              0.20        495.00         $99.00

 08/09/2022   KLL     CA        Update critical dates memo.                              0.30        495.00        $148.50

 08/09/2022   KLL     CA        Finalize Committee Confidentiality Motion for filing     0.60        495.00        $297.00
                                with the Court.

 08/11/2022   KLL     CA        Email judge's chambers with copy of proposed order       0.40        495.00        $198.00
                                re M. Pagay Pro Hac Vice Motion.

 08/12/2022   KLL     CA        Update critical dates memo.                              0.30        495.00        $148.50

 08/15/2022   KLL     CA        Update critical dates memo.                              0.30        495.00        $148.50

 08/16/2022   KLL     CA        Update critical dates memo.                              0.40        495.00        $198.00
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 08/18/2022   KLL     CA        Correspond with transcriber on request submission      0.40         495.00        $198.00
                                for 341(a) meeting transcript.

 08/19/2022   KLL     CA        Email court clerk on presentment of proposed order     0.30         495.00        $148.50
                                to Committee's confidential motion.

 08/19/2022   KLL     CA        Correspond with Veritext on issues obtaining audio     0.30         495.00        $148.50
                                from UST re 341a meeting.

 08/24/2022   KLL     CA        Correspond internally re submission of proposed        0.30         495.00        $148.50
                                order on Committee protocol motion.

 08/27/2022   KLL     CA        Update critical dates memo.                            0.30         495.00        $148.50

 08/29/2022   GNB     CA        Revise email response to Andrea Schwartz regarding     0.10         925.00         $92.50
                                email to Oliver Carpio regarding email service.

 08/29/2022   KLL     CA        Update critical dates memo.                            0.30         495.00        $148.50

 08/30/2022   BDD     CA        Email G. Brown re case tasks.                          0.10         495.00         $49.50

                                                                                        6.90                     $4,779.50

  Claims Admin/Objections[B310]
 08/02/2022   JWL     CO        Collect changes to claim form from counsel (1.1);      1.20       1095.00        $1,314.00
                                call with Madison's counsel regarding changes to
                                claim form, deadline (.1);

 08/04/2022   JWL     CO        Review comments from committee and state court         0.70       1095.00         $766.50
                                counsel to proposed proof of claim form (.7).

 08/05/2022   JWL     CO        Review Madison changes to claim form, bar date         1.00       1095.00        $1,095.00
                                order, notice and respond with comments.

 08/09/2022   JWL     CO        Emails with M. Levi regarding claim form               0.20       1095.00         $219.00

 08/10/2022   MSP     CO        Prepare for hearing re: Bar Date Motion and other      0.80       1095.00         $876.00
                                matters (.7); email exchange with John W. Lucas re:
                                same (.10).

 08/10/2022   MSP     CO        Email exchange with J. Weber, John W. Lucas, et al.    0.30       1095.00         $328.50
                                re: comments on claim form.

 08/10/2022   JWL     CO        Review proposed changes to definition of               0.70       1095.00         $766.50
                                "abuse" (.2); review claim form and email M. Levi
                                regarding fixes to fillable form (.5).

 08/11/2022   MSP     CO        Draft summary of hearing for clients (.4); email       0.60       1095.00         $657.00
                                exchange with James I. Stang, Committee members,
                                state court counsel, et al. re: same (.20).

 08/11/2022   MSP     CO        Review and analysis of additional modifications to     1.00       1095.00        $1,095.00
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                                survivor claim form Email exchange with M. Plevin,
                                John W. Lucas, J. Weber, M. Levi, et al.
 08/11/2022   MSP     CO        Appear at hearing regarding Bar Date Motion and        1.60       1095.00         $1,752.00
                                other matters.

 08/11/2022   MSP     CO        Telephone call with John W. Lucas re: Court            0.20       1095.00          $219.00
                                hearing status.

 08/11/2022   MSP     CO        Telephone calls (2) with John W. Lucas re: Proof of    0.20       1095.00          $219.00
                                Claim forms, Rule 2004 motions, etc.

 08/11/2022   JWL     CO        Emails with Madison's counsel and Federal's counsel    1.20       1095.00         $1,314.00
                                regarding changes to abuse claim form (.5); review
                                and respond to changes to claim form by UST (.2);
                                review and respond to changes to bar date order by
                                UST (.5).

 08/12/2022   JWL     CO        Prepare email to committee and counsel regarding       0.60       1095.00          $657.00
                                bar date order, deadline, and claim form (.6).

 08/26/2022   JWL     CO        Call with L. Leder regarding uploading completed       0.90       1095.00          $985.50
                                forms to the claim portal (.2); calls with Epiq
                                regarding same (.7);

 08/30/2022   JWL     CO        Respond to questions from survivor counsel             0.50       1095.00          $547.50
                                regarding abuse proof of claims (.5);

                                                                                       11.70                     $12,811.50

  Financing [B230]
 08/16/2022   GNB     FN        Email IslandDundon regarding financial issues and      0.10         925.00          $92.50
                                monthly operating report.

 08/22/2022   JIS     FN        Email to Financial Advisor regarding financial         0.20       1525.00          $305.00
                                analysis for offer.

 08/30/2022   GNB     FN        Email with John W. Lucas regarding Teneo’s             0.10         925.00          $92.50
                                request for Committee professionals’ budget;
                                Review Tabish Rizvi email regarding same.

                                                                                        0.40                       $490.00

  General Creditors Comm. [B150]
 08/01/2022   JIS     GC        Review/revise agenda.                                  0.20       1525.00          $305.00

 08/01/2022   JIS     GC        Draft July 25 minutes.                                 0.30       1525.00          $457.50

 08/01/2022   JIS     GC        Call with J. Lucas regarding 8/01 agenda and           0.20       1525.00          $305.00
                                outstanding documents out for comment.
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 08/01/2022   JIS     GC        Committee call regarding case status.                   1.20      1525.00        $1,830.00

 08/01/2022   MSP     GC        Email exchange with John W. Lucas re: Committee         0.10      1095.00         $109.50
                                meeting.

 08/01/2022   JWL     GC        Prepare agenda for Aug. 1 committee meeting (.5);       2.40      1095.00        $2,628.00
                                send administrative emails to committee chairs
                                regarding retentions, minutes, bylaws (.5); attend
                                weekly committee (1.2); circulate claim form to
                                state court counsel for further comments (.2).

 08/04/2022   MSP     GC        Attend state court counsel meeting.                     0.50      1095.00         $547.50

 08/04/2022   JWL     GC        Attend weekly state court counsel call with J. Stang    0.50      1095.00         $547.50
                                and counsel to committee members.

 08/05/2022   JWL     GC        Draft minutes for Aug. 1, 2022 committee meeting.       0.60      1095.00         $657.00

 08/06/2022   MSP     GC        Email exchange with John W. Lucas re: Committee         0.10      1095.00         $109.50
                                meeting.

 08/08/2022   MSP     GC        Attend Committee meeting.                               1.40      1095.00        $1,533.00

 08/08/2022   JWL     GC        Prepare for (.2) and attend weekly committee            1.60      1095.00        $1,752.00
                                meeting regarding case status (1.4).

 08/09/2022   MSP     GC        Telephone call with James I. Stang re: hearing          0.20      1095.00         $219.00
                                coverage; email exchange with John W. Lucas re:
                                same.

 08/12/2022   MSP     GC        Email exchange with Committee members and               0.40      1095.00         $438.00
                                counsel re: status update re: Rule 2004 motions.

 08/15/2022   GNB     GC        E-mail with John W. Lucas regarding addendum to         0.10        925.00         $92.50
                                email to Committee regarding 341(a).

 08/15/2022   JIS     GC        Committee meeting including meeting with                1.20      1525.00        $1,830.00
                                mediator, review of claims valuation issues, 341
                                meeting issues.

 08/15/2022   JIS     GC        Draft minutes of 8.15 committee meeting.                0.30      1525.00         $457.50

 08/15/2022   JIS     GC        Call J. Lucas re case status and pending motions.       0.20      1525.00         $305.00

 08/15/2022   MSP     GC        Attend Committee meeting.                               1.20      1095.00        $1,314.00

 08/15/2022   JWL     GC        Review and revise committee meeting minutes from        0.20      1095.00         $219.00
                                Aug. 15 meeting (.2).

 08/16/2022   GNB     GC        Email with Jason Amala regarding mediation issues.      0.10        925.00         $92.50

 08/17/2022   GNB     GC        Email with Committee members and PSZJ team              0.10        925.00         $92.50
                                regarding mediation and discovery.
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 08/18/2022   IAWN GC           Telephone conference with SCC regarding status         0.50      1295.00         $647.50

 08/18/2022   JIS     GC        Call with state court counsel regarding meeting of     0.50      1525.00         $762.50
                                creditors, mediation, insurance.

 08/18/2022   MSP     GC        Attend state court counsel meeting.                    0.50      1095.00         $547.50

 08/18/2022   JWL     GC        Attend call with state court counsel regarding         0.50      1095.00         $547.50
                                strategy.

 08/22/2022   IAWN GC           Telephone conference with Committee regarding          1.00      1295.00        $1,295.00
                                status

 08/22/2022   JIS     GC        Call J. Lucas re call with Mediator and agenda for     0.20      1525.00         $305.00
                                upcoming call with Committee.

 08/22/2022   JWL     GC        Prepare agenda for Aug. 22 committee meeting (.4);     1.40      1095.00        $1,533.00
                                attend committee meeting regarding case updates
                                (1.0).

 08/24/2022   MSP     GC        Telephone call with John W. Lucas re: work in          0.10      1095.00         $109.50
                                process, action items.

 08/24/2022   MSP     GC        Email exchange with Gillian N. Brown, John W.          0.10      1095.00         $109.50
                                Lucas, et al. re: creditor information motion.

 08/25/2022   GNB     GC        Telephone conference with James I. Stang, Iain         0.90        925.00        $832.50
                                A.W. Nasatir, Malhar S. Pagay, and John W. Lucas
                                regarding Committee-related issues.

 08/25/2022   IAWN GC           Telephone call with SCC regarding status               0.50      1295.00         $647.50

 08/25/2022   JIS     GC        Call with PSZJ reviewing status of case and issues:    0.90      1525.00        $1,372.50
                                employment, discovery, insurance Rule 2004 exams,
                                mediation.

 08/25/2022   JIS     GC        Call with state court counsel regarding status of      0.50      1525.00         $762.50
                                discovery, insurance, employment of PSZJ and UST
                                comments.

 08/25/2022   MSP     GC        Meeting with James I. Stang, John W. Lucas, et al.     0.90      1095.00         $985.50
                                re: work in process, action items.

 08/25/2022   MSP     GC        Attend state court counsel meeting.                    0.50      1095.00         $547.50

 08/25/2022   JWL     GC        Prepare agenda for work in progress call with PSZJ     1.70      1095.00        $1,861.50
                                team (.3); attend work in progress call with PSZJ
                                team (.9); attend weekly state court counsel call
                                regarding strategy and case update (.5);

 08/26/2022   IAWN GC           Telephone conference with SCC regarding discovery      0.60      1295.00         $777.00

 08/26/2022   JWL     GC        Attend PSZJ / Dundon call regarding case               0.90      1095.00         $985.50
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                                management and work streams for Committee (.9);
 08/28/2022   GNB     GC        Email with State Court Counsel regarding reply to      0.30         925.00         $277.50
                                objections to Rule 2004 motion for production of
                                documents and oral examination directed to certain
                                insurers.

 08/29/2022   GNB     GC        Zoom Committee meeting regarding current issues.       0.60         925.00         $555.00

 08/29/2022   JIS     GC        (Partial) attend committee meeting.                    0.20       1525.00          $305.00

 08/29/2022   MSP     GC        Telephone call with John W. Lucas re: pending case     0.20       1095.00          $219.00
                                matters.

 08/29/2022   JWL     GC        Prepare minutes for Aug. 22 committee meeting (.5);    2.20       1095.00         $2,409.00
                                prepare agenda for Aug. 29 committee meeting (.5);
                                prepare for (.2) and attend Aug. 29 committee
                                meeting (.6); prepare minutes for Aug. 29 committee
                                meeting (.4);

 08/30/2022   MSP     GC        Telephone call with John W. Lucas re: pending case     0.20       1095.00          $219.00
                                matters.

 08/30/2022   MSP     GC        Email exchange with Gillian N. Brown, John W.          0.10       1095.00          $109.50
                                Lucas, M. Levi, et al. re: amended agenda notice.

                                                                                       29.10                     $34,564.50

  Meeting of Creditors [B150]
 08/05/2022   JIS     MC        Review/revise memo to Committee about 341              0.40       1525.00          $610.00
                                meeting and its purposes.

 08/16/2022   JIS     MC        Call J. Lucas regarding preparation for meeting of     0.10       1525.00          $152.50
                                creditors.

 08/16/2022   JIS     MC        Review SOFA/SOAL and IRS 990s for Debtor,              2.50       1525.00         $3,812.50
                                Foundation and National in preparation for 341
                                meeting.

 08/16/2022   MSP     MC        Telephone call with A. Schwartz re: questioning at     0.10       1095.00          $109.50
                                341(a) meeting.

 08/16/2022   MSP     MC        Telephone call with John W. Lucas re: 341(a)           0.10       1095.00          $109.50
                                meeting.

 08/16/2022   JWL     MC        Review schedules and statements and prepare            1.80       1095.00         $1,971.00
                                questions for section 341 meeting (1.8);

 08/17/2022   JIS     MC        Attend meeting of creditors.                           1.60       1525.00         $2,440.00

 08/17/2022   MSP     MC        Attend meeting of creditors.                           1.60       1095.00         $1,752.00
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                                                                                       Hours            Rate       Amount

 08/17/2022   JWL     MC        Attend Madison section 341 meeting (1.6);               1.60       1095.00         $1,752.00

                                                                                         9.80                     $12,709.00

  Mediation
 08/01/2022   IAWN ME           Review SCC emails regarding mediation statement         0.10       1295.00          $129.50

 08/01/2022   IAWN ME           Review mediation statement                              0.50       1295.00          $647.50

 08/01/2022   JIS     ME        Review email with comments regarding mediation          0.10       1525.00          $152.50
                                statement factual background.

 08/01/2022   JIS     ME        Review/revise mediation statement.                      0.30       1525.00          $457.50

 08/01/2022   JWL     ME        Review background materials for mediation               2.20       1095.00         $2,409.00
                                statement.

 08/02/2022   JWL     ME        Further review and revisions to mediation statement.    1.30       1095.00         $1,423.50

 08/03/2022   GNB     ME        Review recently filed pleadings; E-mail to Kerri L.     0.10         925.00          $92.50
                                LaBrada regarding same; Review emails from state
                                court counsel regarding mediation statement.

 08/03/2022   IAWN ME           Mediation                                               1.00       1295.00         $1,295.00

 08/03/2022   JIS     ME        Call J. Lucas regarding mediation statement and         0.10       1525.00          $152.50
                                pending pleadings.

 08/03/2022   JIS     ME        Review/revise mediation statement.                      1.00       1525.00         $1,525.00

 08/03/2022   MSP     ME        Email exchange with John W. Lucas re: Rule 2004         0.10       1095.00          $109.50
                                information for mediation statement.

 08/03/2022   JWL     ME        Review and revise mediation statement in response       2.50       1095.00         $2,737.50
                                to comments from state court counsel (1.5); review
                                and compile exhibits for mediation statement (1.0).

 08/05/2022   JWL     ME        Call with Mediator and J. Stang.                        0.60       1095.00          $657.00

 08/09/2022   IAWN ME           Telephone conference with debtor coverage counsel       0.10       1295.00          $129.50
                                regarding insurance under mediation privilege

 08/09/2022   IAWN ME           Exchange emails with PSZJ team regarding                0.20       1295.00          $259.00
                                insurance mediation success

 08/15/2022   IAWN ME           Telephone conference with John Lucas regarding          0.10       1295.00          $129.50
                                mediation call

 08/15/2022   IAWN ME           Telephone conference with state court counsel and       1.50       1295.00         $1,942.50
                                mediator

 08/15/2022   IAWN ME           Telephone conference with state court counsel           1.20       1295.00         $1,554.00
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                                                                                       Hours            Rate       Amount
                                regarding mediation
 08/15/2022   JIS     ME        Email to mediator regarding additional mediation        0.20       1525.00          $305.00
                                party.

 08/15/2022   MSP     ME        Email exchange with James I. Stang et al. re:           0.10       1095.00          $109.50
                                Mediation party.

 08/15/2022   JWL     ME        Prepare for and attend mediation session wtih           2.70       1095.00         $2,956.50
                                mediator, committee members, and state court
                                counsel (1.5); attend mediation session with
                                committee (1.2);

 08/22/2022   JIS     ME        Call with mediator re status of negotiations.           0.30       1525.00          $457.50

 08/22/2022   JWL     ME        Attend mediation session with J. Chapman and J.         0.50       1095.00          $547.50
                                Stang (.5);

                                                                                        16.80                     $20,179.00

  Retention of Prof. [B160]
 08/01/2022   GNB     RP        Review conflict check information (.1); Email Aaron     0.30         925.00         $277.50
                                Bonn and Erick Marroquin regarding same (.2)
                                (Sweden time zone).

 08/02/2022   GFB     RP        Review and analyze conflicts data.                      0.40         995.00         $398.00

 08/02/2022   GNB     RP        Review conflict check information part 2 and 3 (.1);    0.20         925.00         $185.00
                                Email Malhar S. Pagay, John W. Lucas, and Aaron
                                Bonn regarding same (.1)(Sweden time zone).

 08/02/2022   MSP     RP        Attention to retention issues (1.6); email exchange     1.70       1095.00         $1,861.50
                                with Gina F. Brandt, et al. re: same (.10).

 08/03/2022   GFB     RP        Review and analyze conflicts data (.6); draft emails    0.80         995.00         $796.00
                                to Michael Warner and Malhar Pagay (.2).

 08/03/2022   MSP     RP        Email exchange with Gini F. Brandt, et al. re:          0.10       1095.00          $109.50
                                retention issues.

 08/11/2022   GNB     RP        E-mail with John W. Lucas regarding compensation        0.10         925.00          $92.50
                                and retention application.

 08/11/2022   KLL     RP        Email judge's chambers with copy of proposed order      0.40         495.00         $198.00
                                re J. Stang Pro Hac Vice Motion.

 08/12/2022   MSP     RP        Email exchange with Kelly L. LaBrada re: PSZJ           0.10       1095.00          $109.50
                                retention hearing.

 08/15/2022   GNB     RP        Review local rules regarding scheduling of motion       0.20         925.00         $185.00
                                to employ PSZJ in connection with Andrea Schwartz
                                email stating 21 days' notice (.1); E-mail with PSZJ
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                                                                                     Hours            Rate      Amount
                                team regarding same (.1)
 08/15/2022   GNB     RP        Email with Oliver Carpio regarding courtesy copies    0.10         925.00         $92.50
                                of papers filed today.

 08/15/2022   LSC     RP        Research and correspondence regarding PSZJ            0.20         495.00         $99.00
                                retention aplication.

 08/15/2022   KLL     RP        Review US Trustee Guidelines on Retention             0.30         495.00        $148.50
                                Application Objection Procedures.

 08/24/2022   GNB     RP        Draft email response for John Lucas to send Andrea    0.10         925.00         $92.50
                                Schwartz regarding extension of time to object to
                                PSZJ employment application; Review Chambers'
                                rules regarding same; Email Kerri L. LaBrada
                                regarding deadlines for PSZJ employment
                                applications.

 08/25/2022   GNB     RP        Email with Miriam Levi and Lauren Varga               0.10         925.00         $92.50
                                regarding supplemental conflict check list; Email
                                Aaron Bonn and Erick Marroquin regarding same;
                                Review results of conflict check and email John W.
                                Lucas regarding same.

 08/26/2022   GNB     RP        Review Judge Lane's chamber rules in connection       0.10         925.00         $92.50
                                with Andrea Schwartz email requesting extension of
                                time to respond to PSZJ employment application;
                                Email John W. Lucas regarding Ms. Ebanks email
                                and timing for extension.

 08/26/2022   GNB     RP        Review and edit exhibits to James I. Stang’s          0.20         925.00        $185.00
                                supplemental declaration in support of PSZJ’s
                                employment application.

 08/26/2022   JIS     RP        Review JIS supplemental declaration.                  0.10       1525.00         $152.50

 08/30/2022   GNB     RP        Email with John W. Lucas regarding withdrawal of      0.10         925.00         $92.50
                                U.S. Trustee opposition to PSZJ employment
                                application and steps going forward.

 08/30/2022   GNB     RP        Revise email to Chambers regarding proposed order     0.10         925.00         $92.50
                                granting PSZJ's employment application.

 08/30/2022   GNB     RP        Review and edit certification of no objection to      0.20         925.00        $185.00
                                PSZJ employment application.

 08/30/2022   KLL     RP        Prepare certificate of no objection to Pachulski      0.70         495.00        $346.50
                                retention application.

                                                                                       6.60                     $5,884.00
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                                                                                      Hours            Rate       Amount

  Ret. of Prof./Other
 08/08/2022   JWL     RPO       Call with M. Dundon regarding engagement.              0.30       1095.00          $328.50

 08/19/2022   JWL     RPO       Review and revise Dundon retention application.        1.30       1095.00        $1,423.50

 08/23/2022   JWL     RPO       Finalize Dundon retention application and ready for    0.70       1095.00          $766.50
                                filing.

 08/23/2022   KLL     RPO       Review and correspond with J. Lucas on notice of       0.40         495.00         $198.00
                                presentment on Dundon retention application.

 08/26/2022   JWL     RPO       Finalize Dundon retention application for filing.      0.50       1095.00          $547.50

                                                                                        3.20                     $3,264.00

  Stay Litigation [B140]
 08/30/2022   JIS     SL        Call/email state court counsel regarding scope of      0.30       1525.00          $457.50
                                Madison automatic stay.

                                                                                        0.30                       $457.50

  TOTAL SERVICES FOR THIS MATTER:                                                                             $254,095.50
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 Expenses
 08/08/2022   RE2       SCAN/COPY ( 29 @0.10 PER PG)                                  2.90
 08/08/2022   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                  2.40
 08/08/2022   RE2       SCAN/COPY ( 18 @0.10 PER PG)                                  1.80
 08/08/2022   RE2       SCAN/COPY ( 58 @0.10 PER PG)                                  5.80
 08/08/2022   RE2       SCAN/COPY ( 30 @0.10 PER PG)                                  3.00
 08/08/2022   RE2       SCAN/COPY ( 29 @0.10 PER PG)                                  2.90
 08/08/2022   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                  1.40
 08/08/2022   RE2       SCAN/COPY ( 62 @0.10 PER PG)                                  6.20
 08/08/2022   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                  1.60
 08/09/2022   PO        Postage                                                       4.20
 08/09/2022   PO        Postage                                                     124.26
 08/09/2022   RE        ( 689 @0.10 PER PG)                                          68.90
 08/09/2022   RE        ( 1595 @0.10 PER PG)                                        159.50
 08/09/2022   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
 08/09/2022   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
 08/09/2022   RE2       SCAN/COPY ( 76 @0.10 PER PG)                                  7.60
 08/09/2022   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
 08/09/2022   RE2       SCAN/COPY ( 30 @0.10 PER PG)                                  3.00
 08/09/2022   RE2       SCAN/COPY ( 13 @0.10 PER PG)                                  1.30
 08/10/2022   FF        Filing Fee [E112] USBC NY, Pro Hac Vice Filing Fee, JWL     200.00
 08/12/2022   LN        54162.00004 Lexis Charges for 08-12-22                       22.46
 08/15/2022   FE        54162.00004 FedEx Charges for 08-15-22                       31.31
 08/15/2022   FE        54162.00004 FedEx Charges for 08-15-22                       25.03
 08/15/2022   FE        54162.00004 FedEx Charges for 08-15-22                       25.03
 08/15/2022   FE        54162.00004 FedEx Charges for 08-15-22                       25.03
 08/15/2022   FE        54162.00004 FedEx Charges for 08-15-22                       25.03
 08/15/2022   FE        54162.00004 FedEx Charges for 08-15-22                       25.03
 08/15/2022   FE        54162.00004 FedEx Charges for 08-15-22                       25.03
 08/15/2022   FE        54106.00002 FedEx Charges for 08-15-22                       31.31
 08/15/2022   PO        Postage                                                      53.90
 08/15/2022   RE        ( 66 @0.10 PER PG)                                            6.60
 08/15/2022   RE        ( 66 @0.10 PER PG)                                            6.60
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 08/15/2022   RE        ( 60 @0.10 PER PG)                                          6.00
 08/15/2022   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                 0.60
 08/15/2022   RE2       SCAN/COPY ( 210 @0.10 PER PG)                              21.00
 08/15/2022   RE2       SCAN/COPY ( 60 @0.10 PER PG)                                6.00
 08/15/2022   RE2       SCAN/COPY ( 30 @0.10 PER PG)                                3.00
 08/15/2022   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                2.40
 08/15/2022   RE2       SCAN/COPY ( 40 @0.10 PER PG)                                4.00
 08/15/2022   RE2       SCAN/COPY ( 10 @0.10 PER PG)                                1.00
 08/15/2022   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                 0.30
 08/15/2022   RE2       SCAN/COPY ( 30 @0.10 PER PG)                                3.00
 08/15/2022   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 08/15/2022   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 08/15/2022   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 08/15/2022   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     23.94
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     25.03
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 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     12.63
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     19.73
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     44.53
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     34.69
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     34.69
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     44.53
 08/16/2022   FE        54162.00004 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00002 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00002 FedEx Charges for 08-16-22                     19.73
 08/16/2022   FE        54162.00002 FedEx Charges for 08-16-22                     23.94
 08/16/2022   FE        54162.00002 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00002 FedEx Charges for 08-16-22                     19.73
 08/16/2022   FE        54162.00002 FedEx Charges for 08-16-22                     28.97
 08/16/2022   FE        54162.00002 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00002 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00002 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00002 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00002 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00002 FedEx Charges for 08-16-22                     21.54
 08/16/2022   FE        54162.00002 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00002 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00002 FedEx Charges for 08-16-22                     25.03
 08/16/2022   FE        54162.00002 FedEx Charges for 08-16-22                     23.94
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 08/16/2022   FE        54162.00002 FedEx Charges for 08-16-22                         25.03
 08/16/2022   FE        54162.00002 FedEx Charges for 08-16-22                         25.03
 08/16/2022   FE        54162.00002 FedEx Charges for 08-16-22                         25.03
 08/16/2022   FE        54162.00002 FedEx Charges for 08-16-22                         44.53
 08/16/2022   FE        54162.00002 FedEx Charges for 08-16-22                         44.53
 08/16/2022   LN        54162.00004 Lexis Charges for 08-16-22                         33.69
 08/16/2022   RE        ( 162 @0.10 PER PG)                                            16.20
 08/16/2022   RE        ( 1620 @0.10 PER PG)                                          162.00
 08/16/2022   RE2       SCAN/COPY ( 170 @0.10 PER PG)                                  17.00
 08/16/2022   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                    1.50
 08/18/2022   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                    1.10
 08/18/2022   RE2       SCAN/COPY ( 30 @0.10 PER PG)                                    3.00
 08/18/2022   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                    1.10
 08/18/2022   RE2       SCAN/COPY ( 30 @0.10 PER PG)                                    3.00
 08/18/2022   RE2       SCAN/COPY ( 34 @0.10 PER PG)                                    3.40
 08/18/2022   RE2       SCAN/COPY ( 34 @0.10 PER PG)                                    3.40
 08/18/2022   RE2       SCAN/COPY ( 34 @0.10 PER PG)                                    3.40
 08/18/2022   RE2       SCAN/COPY ( 30 @0.10 PER PG)                                    3.00
 08/22/2022   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                    1.50
 08/26/2022   FE        54162.00004 FedEx Charges for 08-26-22                         25.03
 08/26/2022   FE        54162.00004 FedEx Charges for 08-26-22                         25.03
 08/26/2022   RE2       SCAN/COPY ( 441 @0.10 PER PG)                                  44.10
 08/26/2022   TR        Transcript [E116] Veritext Legal Solutions, Inv. 6000032,     436.00
                        KLL
 08/27/2022   LN        54162.00004 Lexis Charges for 08-27-22                         82.82
 08/29/2022   FE        54162.00004 FedEx Charges for 08-29-22                         23.65
 08/29/2022   FE        54162.00004 FedEx Charges for 08-29-22                         23.65
 08/29/2022   FX        (AGR 28 @1.25 PER PG)                                          35.00
 08/29/2022   PO        Postage                                                        28.64
 08/29/2022   RE        ( 648 @0.10 PER PG)                                            64.80
 08/29/2022   RE        ( 1 @0.10 PER PG)                                               0.10
 08/29/2022   RE        ( 48 @0.10 PER PG)                                              4.80
 08/29/2022   RE        ( 72 @0.10 PER PG)                                              7.20
 08/29/2022   RE        ( 6 @0.10 PER PG)                                               0.60
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Madison Square BGC O.C.C.                                                              Invoice 130861
54162 - 00004                                                                          August 31, 2022

 08/29/2022   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                        2.40
 08/29/2022   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                         0.30
 08/29/2022   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                        2.40
 08/30/2022   RE2       SCAN/COPY ( 22 @0.10 PER PG)                                        2.20
 08/31/2022   OS        Everlaw, Inv. 63573, in the Madison database for the month        500.00
                        of August
   Total Expenses for this Matter                                                    $4,027.47
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54162 - 00004                                                                             August 31, 2022


                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        08/31/2022

Total Fees                                                                                           $254,095.50

Total Expenses                                                                                              4,027.47

Less Courtesy Discount                                                                                $55,335.50

Total Due on Current Invoice                                                                         $202,787.47

  Outstanding Balance from prior invoices as of        08/31/2022          (May not include recent payments)

A/R Bill Number          Invoice Date                Fees Billed        Expenses Billed             Balance Due
 130635                  07/31/2022                $127,920.00             $291.19                   $128,211.19

             Total Amount Due on Current and Prior Invoices:                                         $330,998.66
